















NUMBER 13-07-430-CR



COURT OF APPEALS



THIRTEENTH DISTRICT OF TEXAS



CORPUS CHRISTI - EDINBURG


____________________________________________________________

										

DONALD GENE REA,	Appellant,


v.



THE STATE OF TEXAS,	Appellee.

____________________________________________________________


On Appeal from the 105th Judicial District Court of Kenedy County, Texas


____________________________________________________________


MEMORANDUM OPINION



Before Chief Justice Valdez and Justices Garza and Vela 


Memorandum Opinion Per Curiam



	Appellant, Donald Gene Rea, by and through his attorney, has filed a motion to
dismiss his appeal because he no longer desires to prosecute it.  See Tex. R. App. P.
42.2(a).  Without passing on the merits of the case, we grant the motion to dismiss
pursuant to Texas Rule of Appellate Procedure 42.2(a) and dismiss the appeal.  


	Having dismissed the appeal at appellant's request, no motion for rehearing will be
entertained, and our mandate will issue forthwith.

								PER CURIAM


Do not publish.  See Tex. R. App. P. 47.2(b).  

Memorandum Opinion delivered and filed

this 18th day of October, 2007.


